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                           UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


 DAVID FINNEMAN,                                    5:23-CV-05034-KES

                   Plaintiff,

                                             ORDER DENYING MOTIONS FOR
       vs.                                      SUMMARY JUDGMENT

 UNITED STATES DEPARTMENT OF
 AGRICULTURE, RISK MANAGEMENT
 AGENCY, and THE FEDERAL CROP
 INSURANCE CORPORATION,

                   Defendants.


       Defendants, United States Department of Agriculture (USDA), Risk

 Management Agency (RMA), and The Federal Crop Insurance Corporation

 (FCIC) move for summary judgment on plaintiff, David Finneman’s, prayer for

 review and reversal of an administrative determination that Finneman is not

 entitled to an FCIC determination that his insurance prover, ProAG, failed to

 comply with FCIC policies or procedures. Docket 36. Finneman also seeks

 summary judgement on the issue of whether defendants must provide the non-

 compliance determination. Docket 39. Finneman opposes defendants’ motion

 for summary judgment. Docket 42. Defendants oppose Finneman’s motion for

 summary judgment. Docket 46.




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                                    Background

       David Finneman obtained a 2017 Whole Farm Revenue Protection

 (WFRP) Pilot Policy for the 2017 crop year through ProAg, an approved

 insurance provider (AIP). Docket 43 ¶ 1. The basic function of a WFRP policy is

 to “provide[] protection against loss of revenue that [the policyholder] expect[s]

 to earn or will obtain from commodities [the policyholder] produce[s] or

 purchase[s] for resale during the insurance period.” Docket 1-1 at 1. Such

 policies are regulated by the Federal Crop Insurance Act (FCIA) and the FCIC.

 See Federal Crop Insurance Act, 7 U.S.C. §§ 1501–1524. Previously, the FCIC

 provided crop insurance directly to producers, but today the FCIC contracts

 with AIPs. Am. Growers Ins. Co. v. FCIC, 532 F.3d 797, 798 (8th Cir. 2008).

 Through the FCIA and “related regulations issued by the Secretary of

 Agriculture,” the FCIC exercises “significant control over all aspects of the

 federal crop insurance program.” Id. “Though [a federal crop insurance] policy

 is a contract between a farmer and an insurance provider, the FCIC determines

 the terms and conditions of federal crop insurance policies.” Balvin v. Rain &

 Hail, LLC, 943 F.3d 1134, 1136 (8th Cir. 2019).

       ProAg issued Finneman a WFRP policy for the 2017 crop year. See

 Docket 1-1 at 1; Docket 43 ¶ 1. This policy purported to insure 316 acres of

 corn and 280 acres of safflower planted by Finneman. See Docket 1-2 at 2. The

 insured on the WFRP policy was listed as the individual “David Finneman[.]”

 See Docket 1-2 at 1. The terms of the contract were contained in the standard

 form 2017 WFRP Pilot Policy promulgated by the FCIC. See Docket 1-1.


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       The WFRP Pilot Policy protects “approved revenue” that the policyholder

 earns or expects to earn from commodities produced or purchased during the

 policy period. See Docket 1-1 at 18. “Approved revenue” is the amount of

 “allowable revenue” that is approved by the insurer, and “allowable revenue” is

 “farm revenue, specified by the policy and including applicable adjustments,”

 that is required to be reported to the Internal Revenue Service (IRS). Id. at 3.

 Allowable revenue also includes “[t]he sales of animals, produce, grains and

 other commodities [the policyholder] raised” as reported in Line 2 of the

 Schedule F tax form submitted to the IRS by the policyholder. Id. at 19. Under

 the contract, the policyholder was required to submit to ProAg a “Whole-Farm

 History Report” that included the policyholder’s Schedule F tax forms that had

 been submitted to the IRS for a five-year period. See id. at 24. The policy

 provided for indemnity if the insured’s “revenue-to-count” fell below the

 insured revenue, the latter of which was calculated using approved revenue

 multiplied by the percentage of the revenue the policyholder elected to insure

 at their coverage level. See id. at 19; Docket 1-2 at 1 (showing Finneman’s

 coverage level to be 75%). The schedule of insurance distributed to Finneman

 by ProAg for insurance year 2017 showed an approved revenue of $196,128,

 which, when multiplied by his coverage level of 75%, produced a “Whole-Farm

 Liability” of $147,096. See Docket 1-2 at 1–2.

       ProAg also sold five traditional multiple peril crop insurance policies to

 C&D Acres, LLC, covering the 2017 crop year for acres of safflower and

 soybeans that were planted by the entity. See Dockets 1-4, 1-5, 1-6, 1-7, 1-8.


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 C&D Acres is a limited liability corporation originally established by Finneman

 and his then spouse, Connie Finneman. See Docket 1-3. In 2011, a document

 signed by Finneman and Connie Finneman was filed with the South Dakota

 Secretary of State that stated that Connie Finneman had voluntarily

 disassociated from C&D Acres. See id.

       Finneman filed a notice of loss under his individual WFRP policy on July

 5, 2017. See Docket 1-9 at 1. Then, following the filing of his 2017 taxes,

 Finneman submitted an insurance claim to ProAg under the WFRP policy. See

 id. On April 20, 2018, ProAg informed Finneman that his policy was voided for

 two reasons. See id. at 2-3. First, because the Whole-Farm History Report

 required by § 16(a)(3) of the WFRP Pilot Policy failed to list revenue from C&D

 Acres, despite Finneman having listed C&D Acres income on his Schedule F

 form that was submitted to the IRS. See id. at 2. ProAg stated that, even if the

 policy was not voided, all revenues earned by C&D Acres would have been

 classified as revenue-to-count, thus reducing any indemnity accordingly. See

 id. Second, ProAg voided the policy because Connie Finneman had a special

 beneficial interest (SBI) that was not listed on Finneman’s individual policy. Id.

 at 2–3. In its letter, ProAg asserted that the spouse of an applicant is presumed

 to have an SBI unless the spouses can show that they are legally separated. Id.

 at 3. As a result of the policy’s voidance, ProAg informed Finneman that it

 would retain 20% of Finneman’s previously paid insurance premiums and not

 pay Finneman’s claim for the losses on the acres of corn and safflower he had

 insured under his personal WFRP policy. Id. at 4.


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       Section 33(a) of the 2017 WFRP Pilot Policy, with limited exceptions,

 requires that all disputes be submitted to arbitration “in accordance with the

 rules of the American Arbitration Association (AAA).” Docket 1-1 at 38.

 Finneman commenced arbitration pursuant to § 33. Docket 1-11 at 1.

 Finneman disputed ProAg’s determination that he was not entitled to

 indemnity for his 2017 crop failures and sought “indemnity of no less than

 $147,096.” Id.

       David A. Allgeyer (the Arbitrator) was appointed to arbitrate the dispute.

 See Docket 1-10 at 5. On ProAg’s motion for summary disposition, the

 Arbitrator determined that Connie Finneman did not have an SBI because a

 separation agreement rendered the Finnemans legally separated under

 applicable state law. See id. at 2–5. Following further proceedings and briefing

 by the parties, the Arbitrator issued an arbitration award in favor of Finneman,

 in the amount of $97,781 plus interest. Docket 1-11 at 10. In reaching his

 decision, the Arbitrator first considered whether ProAg properly denied

 Finneman’s claim for failing to list Connie Finneman as a person having an

 SBI. See id. at 7–8. The Arbitrator found that Finneman and Connie Finneman

 were legally separated under applicable state law, and thus the policy was not

 void due to a failure to list a person having an SBI. See id. Second, the

 Arbitrator determined that “C&D’s revenue should not have been included in

 Mr. Finneman’s Revenue to Count.” Id. at 8. In doing so, the Arbitrator relied

 on an implied “covenant of good faith and fair dealing on the part of the

 parties” to find that “under the unique facts of this case,” C&D’s revenue


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 should have been excluded. Id. at 9. Third, the Arbitrator calculated the award

 to which Finneman was entitled. See id. at 10–11.

       On July 18, 2022, ProAg requested review of the arbitration award by the

 Deputy Administrator of the Risk Management Agency (RMA) 1. See Docket 26-1

 at 60-69. ProAg argued that the Arbitrator impermissibly rendered an award

 based on a disputed policy provision for which Finneman failed to request an

 FCIC interpretation. See id. at 60, 64–65. Specifically, ProAg asserted that an

 interpretation of the term “revenue-to-count” should have been sought. See id.

 at 65. ProAg also contended that the Arbitrator should not have relied on the

 concept of good faith and fair dealing to support his conclusion that C&D

 revenue should not have been included in Finneman’s revenue-to-count. See

 id. at 67–68. To support its request, ProAg cited § 33(a)(1)(ii) of the WFRP Pilot

 Policy, which operated to nullify any award where a policy and procedure

 interpretation should have been sought from the FCIC but was not. See id. at

 61–62. ProAg also pointed to federal regulations that nullify arbitration awards

 where a final agency interpretation is erroneously not sought, and that was

 providing a mechanism for FCIC review of an award under such circumstances.

 See id. at 60–61; 7 C.F.R. § 400.766(b)(3)–(4).

       On July 19, 2022, ProAg filed a petition to vacate, or, in the alternative,

 to nullify the arbitration award. Docket 43 ¶ 4. On October 7, 2022, Finneman




 1 The RMA is the agency that manages the FCIC. See About the Risk

 Management Agency, USDA, https://www.rma.usda.gov/About-RMA/ (last
 visited August 27, 2024).
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 counterclaimed seeking confirmation of the arbitration award and

 extracontractual damages. Id. ¶ 5.

       On October 20, 2022, the FCIC responded to ProAg’s request for review

 of the arbitration award. See ProAg v. Finneman., No. 5:22-CV-05062 (D.S.D.

 filed July 19, 2022), 2 Docket 13-1. In that letter, the RMA Deputy

 Administrator determined that the Arbitrator’s decision involved a disputed

 policy provision, for which an agency interpretation should have been sought.

 Id. at 1–2. His letter stated that resolution of the controversy involved the

 interpretation of two policy questions:

       1) Whether the WFRP policy and handbook require revenue
       attributable to commodities grown by a disregarded entity to be
       considered as part of the insured’s allowable revenue for WFRP
       purposes, and 2) Whether Line 2 of an insured’s Schedule F
       income reported under a single taxpayer identification number
       must be entered in the Allowable Revenue Worksheet.

 Id. at 1. The FCIC found that “a disregarded entity” such as C&D Acres “which

 does not file a separate tax return is part of the farm operation of the tax entity

 which files a tax return including revenue from that disregarded entity and all

 revenue reported on Line 2 of the tax entity’s Schedule F is considered

 allowable revenue for that tax entity.” Id. at 4. According to the FCIC

 determination, all revenue reported on Line 2 of the Schedule F form should

 have been included as revenue-to-count when calculating the claim for

 indemnity and would in effect be subtracted from any indemnity Finneman was

 due under the policy. See id.

 2 Hereinafter, the court will refer to filings in ProAg v. Finneman., No. 5:22-CV-

 05062 (D.S.D. filed July 19, 2022) by inserting the designation of 5:22-CV-
 05062 before the docket entry.
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       On October 28, 2022, ProAg filed an answer to the counterclaim. 5:22-

 CV-05062, Docket 13. ProAg asserted that the counterclaim failed to state a

 claim on which relief could be granted, citing the RMA decision finding the

 arbitration award involved a disputed policy provision, and asserted that the

 arbitration award was automatically nullified pursuant to 7 C.F.R.

 § 400.766(b)(4)(ii)(a). See id. at 1.

       ProAg moved for summary judgement on its claims seeking vacatur of

 the arbitration award and dismissal of the counterclaims with prejudice. 5:22-

 CV-05062, Dockets 17, 19. Finneman opposed ProAg’s motion and moved for

 summary judgment on Count 1 of the counterclaim seeking confirmation of the

 arbitration award. 5:22-CV-05062, Dockets 25, 26. When ruling on the cross-

 motions for summary judgment, the court vacated the arbitration award,

 remanded the matter to the arbitrator for further proceedings, and dismissed

 Counts 2 through 6 of the counterclaim without prejudice. 5:22-CV-05062,

 Docket 33 at 28-29; Docket 34.

       On October 7, 2022, the same day that Finneman brought the

 counterclaim, Finneman submitted a formal request to the RMA pursuant to

 § 33 of the 2017 WFRP Pilot Policy and 7 C.F.R. § 400.352(b)(4) for an FCIC

 determination that ProAg failed to comply with the terms of the WFRP Pilot

 Policy and FCIC procedures. Docket 1-12. Finneman argued that ProAg’s

 failure to comply with the policy or procedures resulted in Finneman receiving

 an indemnity payment less than the $101,178 to which he asserts he is

 entitled. See Docket 1-12 at 2.


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       Director of the RMA Administrative Review Division Donnika Stance

 declined to issue a non-compliance determination on the grounds that the

 2017 WFRP Pilot Policy did not have a contract provision equivalent to § 20(i) 3

 of the Common Crop Insurance Policies that authorized the FCIC to issue such

 a determination. Docket 1-13 at 1. In a footnote, the Director discussed a prior

 NAD determination that barred a party insured under the 2016 WFRP Pilot

 Policy from requesting and obtaining a non-compliance determination, on the

 grounds that the 2016 WFRP Pilot Policy did not contain a provision

 authorizing such a determination. Id. at 1 n.1. The Director noted that the

 revised 2019 iteration of the WFRP Pilot Policy contains a provision equivalent

 to § 20(i) of the Common Crop Insurance Policy, and therefore provides for a

 procedure by which the insured may obtain a non-compliance determination.

 See id.; 7 C.F.R. § 457.8(b).

       The RMA’s decision not to issue a non-compliance determination was

 appealed by Finneman to an Administrative Law Judge with the National

 Appeals Division (NAD), who on February 22, 2023, affirmed the FCIC’s

 decision. See Docket 1-14; Docket 1-15. Pursuant to 7 C.F.R. § 11.9, Finneman

 requested NAD Director review of the February 22, 2023, ALJ determination.

 Docket 1-16. On April 25, 2023, the RMA Director Frank Woods issued a

 decision (the Director Review Determination) that affirmed the prior agency




 3Section 20(i) is a provision in the model policy provisions codified by the FCIC
 in the Common Crop Insurance Policy that expressly provides a procedure to
 obtain a non-compliance determination. See 7 C.F.R. § 457.8(b).
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  decisions and found that the RMA properly applied its regulations in declining

  to issue a non-compliance determination. Docket 1-17 at 1, 4.

        On May 24, 2023, Finneman brought this complaint against defendants

  seeking “review and reversal of the adverse administrative determination by . . .

  [d]efendants.” Docket 1 at 9. Finneman filed an amended complaint on

  January 3, 2024. Docket 22. Defendants responded to the amended complaint

  on January 17, 2024, and filed an amended answer on February 7, 2024.

  Docket 23; Docket 24. Finneman and defendants filed cross-motions for

  summary judgment. Docket 36; Docket 39. Finneman opposes defendants’

  motion for summary judgment. Docket 42. Defendants oppose Finneman’s

  motion for summary judgment. Docket 44.

                     Legal Standard on Summary Judgment

        Summary judgment is appropriate if “the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment

  as a matter of law.” Fed. R. Civ. P. 56(a). The moving party can meet this

  burden by presenting evidence that there is no genuine dispute of material fact

  or that the nonmoving party has not presented evidence to support an element

  of its case on which it bears the ultimate burden of proof. Celotex Corp. v.

  Catrett, 477 U.S. 317, 322–23 (1986). The moving party must inform the court

  of the basis for its motion and also identify the portions of the record that show

  there is no genuine issue in dispute. Hartnagel v. Norman, 953 F.2d 394, 395

  (8th Cir. 1992).




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        To avoid summary judgment, “[t]he nonmoving party may not ‘rest on

  mere allegations or denials, but must demonstrate on the record the existence

  of specific facts which create a genuine issue for trial.’ ” Mosley v. City of

  Northwoods, 415 F.3d 908, 910 (8th Cir. 2005) (quoting Krenik v. Cnty. of Le

  Sueur, 47 F.3d 953, 957 (8th Cir. 1995)). Summary judgment “must be denied

  if on the record then before it the court determines that there will be sufficient

  evidence for a jury to return a verdict in favor of the nonmoving party.” Krenik

  47 F.3d at 957. It is precluded if there is a genuine dispute of fact that could

  affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  248 (1986).

        Generally, when considering a motion for summary judgment, the court

  views the facts and the inferences drawn from such facts “in the light most

  favorable to the party opposing the motion.” Matsushita Elec. Indus. Co. v.

  Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting United States v. Diebold,

  Inc., 369 U.S. 654, 655 (1962)). In cases involving cross motions for summary

  judgment, the standard summary judgment principles apply with equal force,

  though the approach is slightly modified. See Woodstone Ltd. P’ship v. City of

  Saint Paul, 2023 WL 3586077, at *5 (D. Minn. May 22, 2023). “[T]he court

  views the record in the light most favorable to plaintiff when considering

  defendant’s motion, and the court views the record in the light most favorable

  to defendant when considering plaintiff’s motion.” Thompson-Harbach v. USAA

  Fed. Sav. Bank, 359 F. Supp. 3d 606, 614 (N.D. Iowa 2019).




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                                   DISCUSSION

        Defendants argue that summary judgment should be granted on

  Finneman’s claim because first, Finneman lacks standing; and second, RMA’s

  decision not to issue a non-compliance determination is supported by

  substantial evidence and may not be set aside under the Administrative

  Procedure Act (APA) as requested by Finneman. Docket 38 at 6, 9–10.

  Finneman argues that RMA’s decision not to issue a non-compliance

  determination is arbitrary and capricious. Docket 41 at 8. In the alternative,

  Finneman urges the court to hold that he does not need a non-compliance

  determination in order to pursue claims for extracontractual damages against

  ProAg. Id. at 12–14.

  I.    Justiciability
        In the Amended Complaint, Finneman asserts four causes of action, all

  of which allege the same injury: that the Agency’s failure to issue a non-

  compliance determination “resulted in the insured receiving a payment in an

  amount that is less than the amount to which the insured was entitled[.]”

  Docket 22 ¶ 46(a)–(d). Defendants assert that Finneman does not have

  standing because the alleged injury is speculative and therefore Finneman has

  not suffered an injury in fact and because Finneman’s alleged injury is not

  traceable to defendants. See Docket 38 at 8–9.

        A.    Legal Standards

        “A person suffering legal wrong because of agency action, or adversely

  affected or aggrieved by agency action within the meaning of a relevant statute,


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  is entitled to judicial review thereof.” 5 U.S.C. § 702. This statutory right to

  judicial review applies to decisions by the RMA, and “permits suits against ‘the

  United States, the agency by its official title, or the appropriate officer.’ ”

  Midland Farms, LLC v. U.S. Dep’t of Agric., 35 F. Supp. 3d 1056, 1062 (D.S.D.

  2014) (quoting 5 U.S.C. § 703)); see also Biby v. U.S. Dep’t of Agric., 2017 WL

  2991440, at *6 (D.N.D. June 7, 2017).

        The right to judicial review at 5 U.S.C. § 702 is distinct from the

  constitutional requirement of standing to maintain an action in federal court.

  See Miller v. Redwood Toxicology Lab’y, Inc., 688 F.3d 928, 934 (8th Cir. 2012)

  (explaining that Article III standing is a question of justiciability that is distinct

  from whether statutory standing exists); Rosebud Sioux Tribe v. McDivitt, 286

  F.3d 1031, 1036 (8th Cir. 2002) (discussing standing requirements separately

  from grant of jurisdiction under the APA). Under Article III of the Constitution,

  federal courts may only resolve cases or controversies. See Zanders v.

  Swanson, 573 F.3d 591, 593 (8th Cir. 2009). To satisfy the case or controversy

  requirement, a plaintiff must have standing and be a “proper party to bring [a

  particular lawsuit].” Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n,

  576 U.S. 787, 799 (2015) (alterations in original) (quoting Raines v. Byrd, 521

  U.S. 811, 818 (1997)). The standing requirement maintains the court’s limited

  role in our democratic government. Warth v. Seldin, 422 U.S. 490, 498 (1975).

  The court’s role is not to make policy, nor serve as a forum for citizens to air

  general grievances. See DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 340–41

  (2006) (“If a dispute is not a proper case or controversy, the courts have no


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  business deciding it, or expounding the law in the course of doing so.”); United

  States v. Hays, 515 U.S. 737, 743 (1995) (acknowledging courts “have

  repeatedly refused to recognize a generalized grievance against allegedly illegal

  governmental conduct as sufficient for standing to invoke the federal judicial

  power”). Instead, the court’s role is limited to resolving disputes between two

  parties with a particularized and concrete stake in the outcome. See Genesis

  Healthcare Corp. v. Symczyk, 569 U.S. 66, 71 (2013).

        Standing has three essential elements: a plaintiff must have (1) suffered

  an injury in fact, (2) that is fairly traceable to the challenged conduct of the

  defendant, and (3) that is likely to be redressed by a favorable judicial decision.

  See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). An injury in fact

  must be “concrete and particularized,” and “actual or imminent, not

  conjectural or hypothetical[.]” Id. at 560. In other words, “[u]nder Article III,

  federal courts do not adjudicate hypothetical or abstract disputes.” TransUnion

  LLC v. Ramirez, 594 U.S. 413, 423 (2021). An injury is fairly traceable to the

  challenged conduct of the defendant “if the plaintiff shows ‘a causal connection

  between the injury and the conduct complaint of’ that is ‘not . . . th[e] result [of]

  the independent action of some third party not before the court.’ ” In re

  SuperValu, Inc., 870 F.3d 763, 768 (8th Cir. 2017) (quoting Lujan, 504 U.S. at

  560). “For an injury to be redressable, judicial action must be likely to remedy

  the harm and cannot be merely speculative.” Steger v. Franco, Inc., 228 F.3d

  889, 893 (8th Cir. 2000).




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        The court must conduct a standing analysis for each claim separately.

  Davis v. FEC, 554 U.S. 724, 734 (2008). Additionally, a plaintiff must prove

  “standing for each type of remedy sought, including declaratory and injunctive

  relief.” Dig. Recognition Network, Inc. v. Hutchinson, 803 F.3d 952, 956 (8th Cir.

  2015). At the pleading stage, the plaintiff “must clearly allege facts

  demonstrating” the elements of standing. Spokeo, Inc. v. Robins, 578 U.S. 330,

  338 (2016) (cleaned up).

        “[S]tanding is based on the facts as they existed at the time the lawsuit

  was filed.” Steger, 228 F.3d at 893. Nonetheless, “Article III demands that an

  ‘actual controversy’ persist throughout all stages of litigation.” Hollingsworth v.

  Perry, 570 U.S. 693, 705 (2013) (quoting Already, LLC v. Nike, Inc., 568 U.S.

  85, 90–91 (2013)).

        B.    Whether Finneman suffered an injury-in-fact

        Defendants argue that Finneman has not suffered an injury-in-fact

  because his injuries are speculative. Docket 38 at 8. They contend that it is

  undetermined how the related proceedings between Finneman and ProAg may

  conclude, and because “plaintiff prevailed when appealing the arbitration

  decision[,]” his alleged injury does not confer standing. Id.

        Finneman responds that a “[f]ederal statute grants this [c]ourt specific

  jurisdiction to review and enforce final determinations of the National Appeals

  Division.” Docket 42 at 2. Finneman is correct that a federal statute provides

  for review of NAD final determinations. See 7 U.S.C. § 6999. But whether the

  court has jurisdiction to review the NAD Director’s final determination is a


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  separate question from whether Finneman has been injured so as to give rise

  to Article III standing. See Miller, 688 F.3d at 934. Finneman’s response fails to

  respond to defendants’ argument that at the time he filed his suit, Finneman

  had not suffered an injury-in-fact. Instead, Finneman cites district court

  decisions from within the Eighth Circuit that reviewed NAD final

  determinations. See Docket 42 at 2. But the fact that courts have reviewed

  NAD determinations where it was not in dispute that the plaintiffs were injured

  is not necessarily relevant to the issue of whether Finneman suffered an injury-

  in-fact. For example, in one case cited, the plaintiff challenged an NAD order

  upholding an administrative determination that part of his property was a

  protected wetland, and thus, whether he suffered an injury-in-fact was not at

  issue. See generally Foster v. Vilsack, No. 4:13-cv-4060-KES, 2014 WL

  5512905 (D.S.D. Oct. 31, 2014), aff'd, 820 F.3d 330 (8th Cir. 2016); see also

  Midland Farms, 35 F. Supp. 3d 1056 (Article III standing not at issue); Wiley v.

  Glickman, 1999 WL 33283312 (D.N.D. Sept. 3, 1999) (Article III standing not at

  issue in case where plaintiffs challenged amendment to terms of FCIC-

  promulgated insurance policy).

        Nonetheless, Finneman’s injury is not speculative. First, Finneman’s

  claimed injury, the loss of his indemnity claim, is a quintessential economic

  injury. See Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1029 (8th Cir. 2014)

  (noting that economic harm typically makes the injury-in-fact analysis

  “straightforward”).




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        Second, Finneman has not yet received payment for his loss, and absent

  an FCIC non-compliance determination, it is highly unlikely that he will recover

  on his extracontractual claims. See 7 C.F.R. § 400.352(b)(4) (regulation barring

  fines, judgments, punitive damages, compensatory damages, or judgments for

  attorney’s fees in the absence of an FCIC non-compliance determination).

  Although the court does not fully address in the justiciability analysis the issue

  of whether Finneman can recover on extracontractual claims absent a non-

  compliance determination, for the purposes of determining whether an injury-

  in-fact occurred, it is relevant that FCIC Final Agency Determinations have

  established that extracontractual claims, even those sounding in

  misrepresentation at the time of contract formation, are not permitted absent a

  non-compliance determination. See RMA Final Agency Determination 240

  (U.S.D.A. 2015) (“Any claim, including a claim for extra-contractual damages

  solely arising from a condition related to policies of insurance issued pursuant

  to the [FCIA], may only be awarded if a determination was obtained from FCIC

  in accordance with section 20(i) of the Basic Provisions and § 400.176(b).”).

  (U.S.D.A. 2015) (agreeing with requestor interpretation and finding that 7

  C.F.R. § 400.352 prohibits claims for extra-contractual damages absent a non-

  compliance determination, “including where there were negligent or intentional

  AIP misrepresentations upon which the producer relied”).

        Once the FCIC determined that the Arbitrator failed to seek a necessary

  policy or procedure interpretation, the arbitration award was automatically

  nullified. See 7 C.F.R. § 400.766(b)(4)(ii)(A). From that point forward, in the


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  absence of an FCIC non-compliance determination, Finneman was highly

  unlikely to recover the disputed indemnity. The court’s order in the related

  litigation vacating the arbitration award served only to confirm that recovery

  was contingent on a non-compliance determination. See ProAg v. Finneman,

  No. 5:22-CV-05062-KES, 2024 WL 3347238 (D.S.D. July 9, 2024). Under the

  court’s order, the arbitrator must now render a decision consistent with the

  FCIC’s determination that revenue from C&D Acres is allowable revenue under

  the policy, or face vacatur again for disregarding an existing FCIC policy or

  procedure interpretation. See id. at *9. The court explained that automatic

  nullification pursuant to 7 C.F.R. § 400.766(b)(4)(ii)(a) “is result of

  administrative actions that are given effect by vacatur.” Id. at *8. Thus, during

  the period after the FCIC determination automatically nullified the arbitration

  award but prior to the award’s formal vacatur by the court, it was already clear

  that recovery of the disputed indemnity by Finneman would very likely require

  a claim for extracontractual damages, and ultimately hinge on a non-

  compliance determination.

        Under such circumstances, a plaintiffs’ “theory of standing thus does not

  rest on mere speculation about the decisions of third parties; it relies instead

  on the predictable effect of Government action on the decisions of third

  parties.” Dep’t of Com. v. New York, 588 U.S. 752, 768 (2019). Here, the

  predictable effect of the FCIC’s decision to automatically nullify the arbitration

  award on the grounds that the arbitrator failed to seek a policy or procedure




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  interpretation, was vacatur and a new arbitration award that does not grant

  Finneman the disputed indemnity.

        Finneman’s alleged injury is also dissimilar from the injuries held to be

  speculative in prior cases. See Lujan, 504 U.S. at 556 (intention of members of

  environmental organization to visit foreign countries on an undetermined date

  to view endangered animals was too speculative to support standing);

  TransUnion LLC v. Ramirez, 594 U.S. 413, 434 (2021) (holding that “mere

  existence of inaccurate information in a database is insufficient to confer

  Article III standing” where that information has not yet been disseminated to

  third parties). Unlike in Lujan and Transunion, where the plaintiffs’ injuries

  were remote, when Finneman brought this action he had already suffered a

  real pecuniary loss. A cloud of uncertainty that made recovery absent a non-

  compliance determination virtually impossible was cast over the nullified

  arbitration award once the FCIC determined a policy or procedure

  interpretation should have been sought by the Arbitrator. From that point

  onward, it was very unlikely that Finneman would recover absent an FCIC non-

  compliance determination. Thus, Finneman’s injury is not speculative but

  rather is concrete and imminent.

              C.     Whether Finneman’s injury is traceable to defendants
        Defendants argue that Finneman cannot establish standing because his

  injury is not traceable to them. Docket 38 at 9. They contend that Finneman’s

  indemnity claim was denied by ProAg without any involvement by the FCIC,

  and that the denial of indemnity occurred before the FCIC declined to issue a


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  non-compliance determination. Id. Defendants contend that they “have no

  control over Prog Ag [sic], no privity with Plaintiff’s policy, and no role in the

  coverage decisions.” Id.

        Finneman’s asserted injury on all four claims is the receipt of a payment

  from ProAG less than the indemnity owed under the policy. Docket 22 ¶ 46(a)–

  (d). But Finneman’s injury is more precisely described not as the receipt of a

  lesser indemnity payment, but rather, the loss of claims for extracontractual

  damages that would allow him to recover the full indemnity. Finneman’s

  inability to recover the indemnity owed by bringing extracontractual claims is

  directly traceable the FCIC’s decision not to issue a non-compliance

  determination.

        In short, Finneman suffered an injury in fact, that is, the loss of the

  ability to maintain claims by which he may yet recover the disputed indemnity.

  Furthermore, that injury is fairly traceable to defendants’ decision not to issue

  a non-compliance determination. Finally, the harm could be redressed by a

  favorable judicial decision ordering defendants to provide a non-compliance

  determination. Thus, Finneman meets the requirements of Article III standing,

  and the court will now consider the merits of Finneman’s action seeking

  judicial review of the Director Review Determination.

  II.   Review of the RMA decision that the 2017 WFRP Pilot Policy and
        related regulations do not allow for a non-compliance determination
        Finneman seeks review and reversal of the adverse agency determination

  that the 2017 WFRP Pilot Policy does not allow the FCIC to issue a non-

  compliance determination. Docket 22 ¶¶ 45–46. He asks the court to set aside

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  the agency action on the grounds that is arbitrary, capricious, an abuse of

  discretion, or otherwise not in accordance with law, unsupported by

  substantial evidence, and unwarranted by the facts to the extent that the facts

  are subject to trial de novo by the reviewing court. Id. ¶¶ 6, 46.

        A.    Standard of Review Applicable to the Director Review
              Determination
        Final determinations by the NAD Director are reviewable and enforceable

  by the United States District Court. 7 U.S.C. § 6999. The APA sets out the

  applicable standards of review. See id. (making a final NAD determination

  reviewable “in accordance with chapter 7 of title 5”). The scope of review

  provisions require:

        [t]o the extent necessary to decision and when presented, the reviewing
        court shall decide all relevant questions of law, interpret constitutional
        and statutory provisions, and determine the meaning or applicability of
        the terms of an agency action. The reviewing court shall—
        (1) [omitted].
        (2) hold unlawful and set aside agency action, findings, and
        conclusions found to be—
              (A) arbitrary, capricious, an abuse of discretion, or otherwise
              not in accordance with law;
              (B) contrary to constitutional right, power, privilege, or
              immunity;
              (C) in excess of statutory jurisdiction, authority, or
              limitations, or short of statutory right;
              (D) without observance of procedure required by law;
              (E) unsupported by substantial evidence in a case subject to
              sections 556 and 557 of this title or otherwise reviewed on
              the record of any agency hearing provided by statute; or
              (F) unwarranted by the facts to the extent that the facts are
              subject to trial de novo by the reviewing court.
  5 U.S.C. § 706(2)(A)–(F).

        Finneman’s complaint asserts that the court should “set aside the

  Defendants’ adverse determination in accordance with 5 U.S.C. § 706(2)(A).”

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  Docket 22 ¶ 43. Thus, Finneman clearly asserts that the arbitrary and

  capricious standard of review applies. But in his cause of action, Finneman

  quotes the language from 5 U.S.C. § 706(2)(E), and (F). See Docket 22 ¶¶ 6, 46.

  Therefore, Finneman appears to also challenge the decision under the

  substantial evidence standard of review. Defendants assert that the correct

  standard is substantial evidence review under § 706(2)(E). Docket 36; Docket

  38 at 10. But defendants also argue that the Director Review Determination

  was not arbitrary and capricious under § 706(2)(A). Id. at 13–15. The court now

  considers what standard of review to apply to the Director Review

  Determination.

           The Eighth Circuit has applied both the “arbitrary and capricious” and

  “substantial evidence” standards when reviewing a decision by the NAD

  Director pursuant to 7 C.F.R. § 11.9. See Dawson Farms v. Risk Mgmt. Agency,

  698 F.3d 1079, 1082–84 (8th Cir. 2012) (holding that a final decision by a NAD

  deputy director affirming a hearing officer’s opinion satisfied both the arbitrary

  and capricious and substantial evidence tests).

           The Eighth Circuit previously held that the question of which APA

  standard to apply turned on whether the agency’s conclusions were factual or

  legal:

           Under [the arbitrary and capricious standard] we must affirm the
           [Agency’s] conclusions of law unless the same are arbitrary,
           capricious, an abuse of discretion or otherwise contrary to law. 5
           U.S.C. 706(2)(A). We must also accept the agency’s factual findings
           if they are supported by substantial evidence. 5 U.S.C. § 706(2)(E).




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  Maverick Transp., LLC v. U.S. Dep’t of Lab., Admin. Rev. Bd., 739 F.3d 1149,

  1153 (8th Cir. 2014); see also Anderson v. Farm Serv. Agency of U.S. Dep’t of

  Agric., 534 F.3d 811, 814 (8th Cir. 2008) (“We review the [agency’s] factual

  determinations for substantial evidence in the record, and will reverse if the

  decision is arbitrary, capricious, an abuse of discretion, or otherwise not in

  accordance with law.”).

        But the Supreme Court’s recent decision overturning Chevron deference

  calls into question the applicability of the arbitrary and capricious standard to

  agency legal conclusions. See Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244

  (2024) (overruling Chevron and holding that an agency interpretation of its

  enabling statute is not entitled to special deference by the court). In Loper, the

  Supreme Court reasoned that:

        The APA . . . codifies for agency cases the unremarkable, yet
        elemental proposition reflected by judicial practice dating back to
        Marbury: that courts decide legal questions by applying their own
        judgment. It specifies that courts, not agencies, will decide “all
        relevant questions of law” arising on review of agency action, § 706
        (emphasis added)—even those involving ambiguous laws—and set
        aside any such action inconsistent with the law as they interpret it.
        And it prescribes no deferential standard for courts to employ in
        answering those legal questions. That omission is telling, because
        Section 706 does mandate that judicial review of agency
        policymaking and factfinding be deferential.
  Id. at 2261 (citing 5 U.S.C. §§ 702(2)(A), (E)). Thus, based on Loper, agency

  policymaking and factfinding are spheres to which the deferential standard of

  arbitrary and capricious review at § 706 would apply. In a post-Loper decision,

  the Eighth Circuit identified the applicable standard of review of agency action

  as arbitrary and capricious, but also said that “[w]e review the agency’s legal


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  determinations de novo and its factual findings for substantial evidence on the

  record as a whole, considering evidence that both supports and detracts from

  the ALJ’s decision.” Carter v. Sec., Dep’t of Lab., 108 F.4th 1028, 1033 (8th Cir.

  2024) (internal quotation marks omitted). Nonetheless, the NAD Director is

  required to base his determination “on information from the case record, laws

  applicable to the matter at issue, and applicable regulations[.]” 5 U.S.C.

  § 6998(c) (emphasis added). Loper eliminates deference to agency

  interpretations of their enabling statutes, but it remains unclear whether NAD

  determinations that are based on applicable law as required by 5 U.S.C.

  § 6998(c), and that present mixed questions of law and fact, are to be reviewed

  under the arbitrary and capricious standard, or de novo.

        Some courts have analyzed whether the agency action at issue is formal

  or informal, then applied the substantial evidence standard to “formal” agency

  action and the arbitrary and capricious standard to “informal” agency action.

  See e.g., Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1573–74 (10th

  Cir. 1994); Env’t Def. Fund, Inc. v. Costle, 657 F.2d 275 (D.C. Cir. 1981)

  (discussing arbitrary and capricious standard and its application to informal

  agency actions); Devon Energy Prod. Co., L.P. v. Gould, 421 F. Supp. 3d 1213,

  1221 (D. Wyo. 2019); Simko v. BIA, 156 F. Supp. 3d 300, 307 (D. Conn. 2015)

  (“[T]he substantial evidence test of section 706(2)(E) is only applicable to

  judicial review of agency action taken after a formal hearing on the record.”).

  Formal agency action is subject to the APA provisions at 5 U.S.C. §§ 556–57

  which “provide formal procedures to which an agency must adhere when the


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  matter before the agency is ‘required by statute to be determined on the record

  after opportunity for an agency hearing.’ ” Simko, 156 F. Supp. 3d at 307

  (quoting 5 U.S.C. § 554(a)). The APA makes formal adjudications subject to the

  substantial evidence standard by stating that, “in a case subject to sections

  556 and 557 of this title or otherwise reviewed on the record of an agency

  hearing provided by statute[,]” agency action shall be set aside where

  “unsupported by substantial evidence.” 5 U.S.C. § 706(2)(E). NAD proceedings

  are required to be “on the record” within the meaning of the APA, and thus, are

  formal actions to which the substantial evidence standard of review applies.

  See Lane v. U.S. Dep’t of Agric., 120 F.3d 106, 108–09 (8th Cir. 1997) (holding

  that even though NAD hearings are not explicitly required to be on the record,

  they are formal adjudications under 5 U.S.C. § 554); 5 U.S.C. § 556 (“This

  section applies . . . to hearings required by Sections 553 or 554 of this title[.]”)

        Complicating matters further, the arbitrary and capricious standard of

  review may “in some instances converge with the substantial evidence

  standard.” Devon, 421 F. Supp. 3d at 1221 (cleaned up). For example, in

  Dawson Farms, the Eighth Circuit applied the arbitrary and capricious

  standard to a NAD final decision, but ultimately considered whether the

  Deputy Director’s decision was supported by substantial evidence in applying

  the arbitrary and capricious standard. See id. In that case, the Eighth Circuit

  did not rely on the formal and informal agency action distinction in reviewing a

  final decision by the NAD Deputy Director. See Dawson Farms, 698 F.3d at

  1079–84. Instead, the Eighth Circuit cited the applicable regulation requiring


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  that the NAD director review the lower ALJ decision for “substantial evidence.”

  See id. at 1083 (citing 7 C.F.R. § 11.9(d)(1)). The court’s reasoning defied easy

  delineation between standards at § 706(2)(a) and § 706(2)(E) by stating that its

  task was “to determine whether the deputy director correctly reviewed the

  hearing officer’s decision for substantial evidence, or whether his decision so

  departed from that standard of review that he acted arbitrarily or capriciously,

  or otherwise abused his discretion.” Id. But the convergence of the standards

  did not stop there: separate from considering whether the deputy director

  properly reviewed the ALJ decision for substantial evidence, the court weighed

  whether the deputy director’s determination was supported by substantial

  evidence under § 706(2)(E). See id. at 1083–84.

        The pervasive overlap between the APA standards of review is perhaps

  best reconciled by Justice Scalia when he sat on the D.C. Circuit:

        The “scope of review” provisions of the APA, 5 U.S.C. § 706(2),5 are
        cumulative. Thus, an agency action which is supported by the
        required substantial evidence may in another regard be “arbitrary,
        capricious, an abuse of discretion, or otherwise not in accordance
        with law”—for example, because it is an abrupt and unexplained
        departure from agency precedent. Paragraph (A) of subsection
        706(2)—the “arbitrary or capricious” provision—is a catchall,
        picking up administrative misconduct not covered by the other
        more specific paragraphs.
  Ass’n of Data Processing Serv. Orgs., Inc. v. Bd. of Governors of Fed. Rsrv. Sys.,

  745 F.2d 677, 683 (D.C. Cir. 1984).

        The court finds that both the arbitrary and capricious and substantial

  evidence standards apply to the court’s review of the Director Final

  Determination. The court’s decision to analyze the Director Final


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  Determination under both standards of review is guided by the Eighth Circuit’s

  reasoning in Dawson Farms, where both standards of review were applied to

  the Deputy Director’s decision. See Dawson Farms, 698 F.3d at 1082–85. It is

  also instructive that district courts within the Eighth Circuit have applied the

  arbitrary and capricious standard of review to NAD final determinations. See

  Branstad v. Veneman, 212 F. Supp. 2d 976, 988–90 (N.D. Iowa 2002);

  Anderson v. Farm Serv. Agency, 502 F. Supp 924, 927 (D. Minn. 2007).

  Moreover, NAD hearings are formal adjudications held “on the record” and thus

  substantial evidence review of the Director’s factual conclusions is also

  appropriate. See Lane, 120 F.3d at 108–09.

        The court’s discussion thus far has focused on the applicability of the

  standards at § 706(2)(A) and (E). The court now addresses whether review

  under 706(2)(F) is warranted and finds that the standard of review at

  § 706(2)(F) does not apply in this action. De novo review of the record under

  706(2)(F) is applicable “ ‘when the action is adjudicatory in nature and the

  agency fact-finding procedures are inadequate’ ” or “ ‘when issues that were not

  before the agency are raised in a proceeding to enforce nonadjudicatory agency

  action.’ ” United States v. Means, 627 F. Supp 247, 255–56 (D.S.D. 1985)

  (quoting Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 415 (1971)).

  Here, the agency action is adjudicatory in nature. In fact, Finneman merely

  quotes the 706(2)(F) standard of review in his cause of action and does not

  allege any specific inadequacies in the agency’s factfinding procedures. See

  Docket 22 at 10; see generally Docket 41. Finneman acknowledges that “the


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  question presented is a purely legal one.” Docket 41 at 7. Thus, the standard of

  review at § 706(2)(F) does not require de novo review of the facts in this action.

        The court first considers whether the Director Review Determination is

  supported by substantial evidence under § 706(2)(E), then weighs whether the

  arbitrary and capricious standard at § 706(2)(A) is satisfied.

        B.    Whether the Director Review Determination was supported by
              substantial evidence
        “Substantial evidence is relevant evidence that a reasonable mind would

  accept as adequate to support the [agency’s] conclusion.” Maverick Transp.,

  LLC, 739 F.3d at 1153 (quoting Steed v. Astrue, 524 F.3d 872, 874 (8th Cir.

  2008) (alteration in original)). The APA’s substantial evidence “standard of

  review is a narrow one and the court is not permitted to substitute its

  judgment for that of the agency.” Id. (quoting United States v. Massey, 380 F.3d

  437, 440 (8th Cir. 2004)). “We ask only whether there is ‘such relevant

  evidence as a reasonable mind might accept as adequate to support a

  conclusion.’ ” Dawson Farms, 698 F.3d at 1084 (quoting Valkering, USA, Inc. v.

  USDA, 48 F.3d 305, 307 (8th Cir. 1996)).

        The facts underlying the Director Review Determination are not in

  dispute. Moreover, the factual background set out by Director Wood is

  sufficient to support the determination’s conclusions. Of particular importance

  is the Director’s finding that the 2017 WFRP Pilot Policy does not contain a

  § 20(i) provision. See Docket 1-17 at 2, 4. This finding is not contested, and is

  the primary basis for the Director’s decision. See id. at 2–3 (citing the ALJ

  decision below and discussing the lack of a 20(i) provision within the 2017

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  WFRP Pilot Policy). Because Finneman does not challenge the Director Review

  Determination’s specific factual findings, and the dispute does not depend on

  differing interpretations of the facts, the court finds that the Director Review

  Determination is supported by substantial evidence.

        C.    Whether the Director Review Determination was Arbitrary and
              Capricious
        An agency decision is arbitrary and capricious where it:

        [R]elied on factors which congress has not intended it to consider,
        entirely failed to consider an important aspect of the problem,
        offered an explanation for its decision that runs counter to the
        evidence before the agency, or is so implausible that it could be
        ascribed to a difference in view or the product of agency expertise.
  C. S.D. Co-op. Grazing Dist. v. Sec. of U.S. Dep’t of Agric., 266 F.3d 889, 894 (8th

  Cir. 2001) (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut.

  Auto. Ins. Co., 463 U.S. 29, 43 (1983)); see also Midland Farms, LLC v. U.S.

  Dep’t of Agric., 2015 WL 4603261, at *2 (D.S.D. July 29, 2015). If “resolution of

  the dispute involves primarily issues of fact and analysis of the relevant

  information ‘requires a high level of technical expertise, we must defer to the

  informed discretion of the responsible agencies.’ ” C. S.D. Co-op. Grazing Dist.,

  266 F.3d at 894–95 (quoting Friends of the Boundary Waters Wilderness v.

  Dombeck, 164 F.3d 1115, 1121 (8th Cir. 1999)). “The agency must articulate a

  ‘rational connection between the facts found and the choice made.’ ” Bowman

  Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 285 (1974)

  (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). The

  court may not supply a reasoned basis for the agency’s action that is not

  provided, but “will uphold a decision of less than ideal clarity if the agency’s

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  path may reasonably be discerned. Id. at 286–87. “Arbitrary and capricious

  review under the APA focuses on the reasonability of the agency’s decision-

  making processes rather than on the reasonability of its interpretation.” Texas

  Off. of Pub. Util. Couns. v. FCC, 183 F.3d 393, 410 (5th Cir. 1999) (cleaned up).

        The court does not limit its “arbitrary and capricious analysis” to

  whether Director Woods followed the applicable standard of review at 7 C.F.R.

  § 11.9(d)(1) and instead applies the full range of arbitrary and capricious

  factors. In Dawson Farms, the Eighth Circuit analyzed whether a determination

  by the RMA Deputy Director was arbitrary and capricious and was supported

  by substantial evidence under § 706(2)(A) and (E). Dawson Farms, 698 F.3d at

  1083. The court limited its analysis of the arbitrary and capricious standard to

  whether the deputy director complied with 7 C.F.R. § 11.9(d)(1) and reviewed

  the ALJ decision below for substantial evidence. See id.

        In Dawson Farms, the plaintiff argued that the NAD Deputy Director

  conducted additional factfinding beyond what was present in the record. See

  id. The Deputy Director was tasked with considering whether insurance

  company adjusters had improperly failed to gather a second sample of potatoes

  in order to check for rot in a potato crop on which the claim was made. Id. at

  1081–82. The agency decision challenged in Dawson Farms was primarily

  factual and hinged on the credibility of witnesses and their ability to observe

  the potatoes in the warehouse. See id. Thus, applying only the “substantial

  evidence” standard of review analysis at 7 C.F.R. § 11.9(d)(1) was logical. See

  id. at 1082. Moreover, the plaintiff’s only arguments were that the deputy


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  director applied an incorrect standard of review, and that there was not

  substantial evidence to support the final agency determination. Id. The court

  responded to those arguments by analyzing whether the “substantial evidence”

  standard of review at 7 C.F.R. § 11.9(d)(1) was followed when engaging in the

  arbitrary and capricious analysis, and separately considering whether the

  deputy director’s decision was supported by substantial evidence under

  § 706(2)(E). See id. at 1082–84.

        Unlike in Dawson Farms, Director Wood’s analysis was not primarily

  factual, and instead required application of relevant law and regulations. See

  Docket 1-17 at 3–4; P. Life Ins. Co. v. Blevins, 92 F.4th 734, 737 (8th Cir. 2024)

  (quoting Weitz Co. LLC v. MacKenzie House, LLC, 665 F.3d 970, 975 (8th Cir.

  2012)) (“The interpretation of a contract is a question of law[.]”). Resolution of

  the controversy here does not depend on factual issues that would affect the

  rights of the parties under the contract; rather, what is at issue is the

  interpretation of the 2017 WFRP Pilot Policy itself, and specifically whether it

  precludes the issuance of a non-compliance determination. Thus, it would be

  inadequate to look solely to whether Director Woods complied with the

  standard of review at 7 C.F.R. § 11.9(d)(1) to determine whether the Director

  Review Determination was arbitrary and capricious. The court instead weighs

  all of the considerations relevant to whether a decision is arbitrary and

  capricious under § 706(2)(A). See C. S.D. Co-op. Grazing Dist., 266 F.3d at 894

  (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at 29). The court’s decision is also

  guided by the practice of other district courts that considered the full range of


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  arbitrary and capricious factors when reviewing a NAD director’s determination

  governed by the “substantial evidence” standard of review found at 7 C.F.R.

  § 11.9(d)(1). See Ortiz v. U.S. Gov’t through Perdue, 2023 WL 3455584, at *2, 6–

  7 (D. Or. May 15, 2023) (considering whether NAD Director “failed to consider

  an important aspect of a problem or . . . offered an explanation for the decision

  contrary to the evidence”); Epp v. Nat. Res. Conservation Serv., 425 F. Supp. 3d

  1142, 1147 (D. Neb. 2019); Simmons v. Smith, 888 F.3d 994, 998 (8th Cir.

  2018) (citing the full range of arbitrary and capricious factors when reviewing

  NAD deputy director determination).

        First, the court considers whether Director Wood’s decision “relied on

  factors which congress” did not intend the RMA to consider. See id. Congress

  has legislated that when reviewing a hearing officer’s determination, the RMA

  director shall use “the case record, the record from the evidentiary hearing

  under [7 U.S.C. § 6997], the request for review, and such other arguments or

  other information as may be accepted by the Director.” 7 U.S.C. § 6998(b). The

  Director’s determination:

        [S]hall be based on information from the case record, laws
        applicable to the matter at issue, and applicable regulations
        published in the Federal Register and in effect on the date of the
        adverse decision or the date on which the acts that gave rise to the
        adverse decision occurred, whichever date is appropriate.
  7 U.S.C. § 6998(c). Here, Director Wood’s decision was based on the case

  record, the law, and applicable regulations. See generally Docket 1-17. Director

  Wood cited legal authorities, including the Supremacy Clause and 7 C.F.R.




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  § 400.352. See Docket 1-17 at 3. He also relied on the administrative record in

  his rendition of the case’s factual background. See Docket 1-17 at 1–2.

        Director Wood applied the correct standard of review and reviewed the

  ALJ decision to ensure it was supported by substantial evidence. 7 C.F.R.

  § 11.9(d)(1). Under this standard of review, the NAD Director must consider

  the hearing officer's decision, but may also look beyond facts the hearing officer

  explicitly found in his decision and examine the underlying record. Dawson

  Farms, 698 F.3d at 1083. Although Director Wood did not cite the substantial

  evidence standard of review, he applied it. The Director Review Determination

  cited the ALJ decision below and does not go beyond the facts explicitly found

  by the ALJ. See Docket 1-15 at 2–3; Docket 1-17 at 2–3. Director Wood also

  indicated that he based his decision on a review of the record, saying that

  “[b]ased on my review of the record, I uphold the Appeal Determination.”

  Docket 1-17 at 1. Although it would be clearer if Director Woods cited the

  applicable standard of review, because his decision discussed the ALJ decision

  and the facts supporting it, the court finds that he reviewed it for substantial

  evidence as required by 7 C.F.R. § 11.9(d)(1). In short, Director Wood did not

  base his decision on factors not approved by Congress, and the Director Review

  Determination survives the first step of the arbitrary and capricious analysis.

        Second, the court considers whether Director Wood entirely failed to

  consider an important aspect of the problem. See C. S.D. Co-op. Grazing Dist.,

  266 F.3d at 894 (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at 29). The issue

  of whether a farmer insured under 2017 WFRP Pilot Policy may obtain a non-


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  compliance determination from the FCIC requires interpretation of both the

  contract and the regulatory scheme governing crop insurance. The ALJ’s

  decision below considered applicable law on the issue of whether the absence

  of § 20(i) from the contract excluded the possibility of obtaining a non-

  compliance determination. See Docket 1-15 at 6. The ALJ discussed the FCIC

  regulation that precludes certain types of damages in the absence of a non-

  compliance determination. See id. (citing 7 C.F.R. § 400.176(b)). The ALJ also

  cited caselaw in support of his conclusion that because the contract did not

  provide a procedure to obtain a non-compliance determination, the ability to

  obtain one is implicitly excluded. See Docket 1-15 at 6 (citing Hawkins v. U.S.,

  96 U.S. 689, 697–98 (1877)).

        Director Wood’s decision, on the other hand, did not discuss the legal

  maxim that, in the ALJ’s view, precluded the insertion of a provision to obtain a

  non-compliance determination into 2017 WFRP Pilot Policy. See Docket 1-17 at

  3–4; Docket 1-15 at 6 (“The legal maxim ‘expressio unius est exclusio alterius’ is

  an interpretive maxim meaning that if certain things are specified in a law,

  contract, or will, other things are implicitly excluded.”).

        Director Wood also did not provide any analysis as to why § 400.352 and

  § 400.176(b) do not empower the agency to issue a non-compliance

  determination even if a § 20(i) provision is not present in the insured’s policy.

  See Docket 1-17 at 3–4. Section 400.352(b)(4) bars various extracontractual

  damages and states that “[n]othing herein precludes [extracontractual

  damages] from being imposed . . . if a determination is obtained from the FCIC


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  that the company, its employee, agent or loss adjuster failed to comply with the

  terms of the policy or procedures.” 7 C.F.R. § 400.352(b)(4). The language at

  § 400.176(b) is similar:

        No policy or insurance reinsured by the Corporation and no claim,
        settlement, or adjustment action with respect any such policy shall
        provide a basis for a claim of punitive or compensatory damages or
        an award of attorney fees or other costs against the Company
        issuing such a policy, unless a determination is obtained from the
        Corporation that the Company, its employee, agent or loss adjuster
        failed to comply with the terms of the policy or procedures issued by
        the Corporation and such failure resulted in the insured receiving a
        payment in an amount that is less than the amount to which the
        insured was entitled.
  7 C.F.R. § 400.176(b) (emphasis added). And both regulations are largely

  coextensive with the model policy provision found at § 20(i):

        (i) In a judicial review only, you may recover attorney's fees or other
        expenses, or any punitive, compensatory or any other damages
        from us only if you obtain a determination from FCIC that we, our
        agent or loss adjuster failed to comply with the terms of this policy
        or procedures issued by FCIC and such failure resulted in you
        receiving a payment in an amount that is less than the amount to
        which you were entitled. Requests for such a determination should
        be addressed to the following: USDA/RMA/Deputy Administrator
        of Compliance/Stop 0806, 1400 Independence Avenue, SW.,
        Washington, DC 20250-0806.
  7 C.F.R. § 457.8(b).

        A previous RMA Final Agency Determination considered the preemptive

  language at § 400.176 to be equivalent to § 20(i) of the Common Crop Policy

  Basic Provisions barring extracontractual damages. See RMA Final Agency

  Determination 240 (U.S.D.A. 2015) (“FCIC also agrees that 7 C.F.R.

  § 400.176(b), and the equivalent language in section 20(i) of the Basic

  Provisions preempts any state law claims that are in conflict.”). Similarly, in



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  another Final Agency Determination, the FCIC contemplated that § 20(i) and

  § 400.352 are equivalent provisions, stating that:

        [A]ny claim, including a claim for extra-contractual damages, that
        arises under or is related to a Federal crop insurance policy issued
        pursuant to the Federal Crop Insurance Act (Act) may only be
        awarded if a determination is obtained from FCIC in accordance
        with section 20(i) of the Common Crop Insurance Policy Basic
        Provisions and §400.352.
  RMA Final Agency Determination 240 (U.S.D.A. 2015) (emphasis added).

        Director Wood cited 7 C.F.R. § 400.352 and acknowledged Finneman’s

  argument that the regulation required the RMA to issue a non-compliance

  determination even for crop insurance policies lacking a § 20(i) provision. 4 See

  id. at 4. Director Wood also identified the issue to be determined as “whether

  RMA properly declined to issue a determination that the AIP failed to comply

  with Appellant’s 2017 policy or with agency rules,” and correctly stated that

  “[t]o resolve this issue, I must decide whether RMA properly applied its

  regulations governing non-compliance determinations.” Id. at 1. But the

  Director’s analysis of why § 400.352 does not allow for farmers insured under

  the 2017 WFRP Pilot Policy to obtain a non-compliance determination was

  limited and conclusory. He said only “that NAD cannot insert a provision into a

  crop insurance contract that is not there.” Id. Director Wood further reasoned

  that “Appellant’s 2017 WFRP pilot policy simply has no provision for RMA to

  determine whether the AIP failed to comply, nor does it have a provision to




  4 The Director Review Determination does not cite 7 C.F.R. § 400.176(b). See

  generally Docket 1-17.
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  determine whether such non-compliance caused Appellant to receive a lower

  payment.” Id.

        The Director Review Determination failed to engage in statutory

  interpretation to determine whether § 400.352 and § 400.176 independently

  allow for the parties to request a non-compliance determination. “The rules of

  statutory construction apply when interpreting an agency regulation.” Roberto

  v. Dep’t of the Navy, 440 F.3d 1341, 1350 (Fed. Cir. 2006). When constructing

  the meaning of a regulation, the “inquiry begins with the [regulation’s] plain

  language.” United States v. Stanko, 491 F.3d 408, 413 (8th Cir. 2007).

  Interpretations of a regulation that render certain words redundant or sections

  superfluous should be avoided. Id. The Director Review Determination did not

  apply conventional rules of statutory and regulatory construction to 7 C.F.R.

  § 400.352(a), and instead began and ended its analysis at the 2017 WFRP Pilot

  Policy’s lack of a § 20(i) provision. See Docket 1-17 at 3–4. The court takes no

  position on whether § 400.352 and § 40.176(b) independently empower the

  agency to issue a non-compliance determination to an insured whose policy

  lacks a § 20(i) provision, but the Director’s failure to consider this important

  aspect of the problem makes his determination appear arbitrary at first blush.

        “Where a regulation’s plain language does not control the issue, we must

  uphold an agency’s interpretation of its own regulation unless that

  interpretation is ‘plainly erroneous or inconsistent with the regulation.’ ” St.

  Luke’s Methodist Hosp. v. Thompson, 315 F.3d 984, 987 (8th Cir. 2003)

  (quoting Bowles v. Seminole Rock & Sand Co., 325 U.S. 410, 414 (1945)); see


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  also Kisor v. Wilkie, 588 U.S. 558, 563-64 (2019) (holding that deference to

  “agencies’ reasonable readings of genuinely ambiguous regulations” is

  “sometimes appropriate” and “depends on a range of considerations”). But

  here, the Director Review Determination did not provide any analysis as to why

  the FCIC regulations governing non-compliance determinations do not

  independently allow a farmer insured under the 2017 WFRP Pilot Policy to

  request a non-compliance determination.

        Moreover, the court cannot substitute the reasoning of the ALJ for that of

  Director Wood, because “the analysis for arbitrary and capricious decision-

  making focuses on the Director’s decision.” PM Farms, Inc. v. Young, 233 F.

  Supp. 3d 706, 713 (S.D. Iowa 2017) (citing Payton v. U.S. Dep’t of Agric., 337

  F.3d 1163, 1169 (10th Cir. 2003)). “The Administrative Judge’s decision is not

  irrelevant, but it is the Director’s decision that is under review.” Farms, Inc. v.

  Young, 233 F. Supp. 3d 706, 713 (S.D. Iowa 2017).

        In a footnote, Director Wood cited a prior determination, Case No.

  2020W000319, in which he considered whether the FICC could issue a non-

  compliance determination to a farmer insured under the 2016 WFRP Pilot

  Policy, which like the 2017 version lacked a § 20(i) provision. See Docket 1-17

  at 4 n.3. The cited excerpt reasoned that the “Appellant’s 2016 WFRP Policy did

  not call on RMA to determine whether the Interested Party failed to comply with

  the terms of the Policy or FCIC procedures and whether such non-compliance

  resulted in Appellant receiving a lower payment.” See id. Director Wood, in a

  footnote, stated that Finneman “does not persuade me that this reasoning does


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  not apply to his case.” Id. But even if the Director Review Determination fully

  incorporated the previous determination by citing the decision, the previous

  determination’s reasoning is only marginally more extensive than the single

  sentence cited above. See Docket 26 at 22–23. In the prior determination,

  Director Wood also did not engage in a process of statutory interpretation to

  determine whether § 400.352 and § 400.176(b) empower the FCIC to issue a

  non-compliance determination in a contract that lacks a § 20(i) provision. See

  Docket 26 at 22–23. He also did not cite law in support of his conclusion that

  the lack of a § 20(i) provision in the 2016 WFRP Pilot Policy disempowered the

  FCIC from issuing a non-compliance determination. See id. Thus, the prior

  determination from Case No. 2020W000319 cited by the Director does not

  sufficiently grapple with § 400.352 and § 400.176(b) and the regulatory scheme

  as a whole for the court to change its calculus as to whether the Director

  Review Determination entirely failed to consider an important aspect of the

  problem.

        The Director Review Determination cited no caselaw to support its

  conclusion that the absence of § 20(i) from the 2017 WFRP Pilot Policy

  precludes the issuance of a non-compliance determination because the NAD

  cannot insert such a provision into the contract. See generally Docket 1-17.

  Unlike the ALJ decision below, it did not invoke the doctrine of “expression

  unius est exclusion alterius” in support of its conclusion that a § 20(i) provision

  cannot be read in to the 2017 WFRP Pilot Policy. See generally id.; Docket 1-15

  at 6. Most importantly, the Director Review Determination did not engage in


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  statutory interpretation or otherwise endeavor to resolve the issue of whether

  the statutory scheme interpreted as a whole, and § 400.352 and § 400.176(b)

  in particular, permit the FCIC to issue a non-compliance determination to a

  producer insured under the 2017 WFRP Pilot Policy. Thus, the agency’s

  decision entirely failed to consider an important aspect of the problem, and

  accordingly, the court finds that the Director Review Determination is arbitrary

  and capricious.

        The court does not consider whether the RMA “offered an explanation for

  its decision that runs counter to the evidence before the agency.” C. S.D. Co-op.

  Grazing Dist., 266 F.3d at 894 (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at

  29). The arbitrary and capricious aspect of the Director Review Determination

  is not rooted in a misapplication of the factual record, but rather stems from

  the wholesale absence of reasoning on a critical issue. The court also does not

  find the Director Review Determination’s overall conclusion “so implausible

  that it could not be ascribed to a difference in view or the product of agency

  expertise.” Id. (quoting Motor Vehicle Mfrs. Ass’n, 463 U.S. at 29). Nonetheless,

  the Director Review Determination’s failure to analyze whether the regulations

  at § 400.352 and § 400.176(b) empower the agency to issue a non-compliance

  determination, and its failure to support its conclusion that it is explicitly

  excluded because a § 20(i) provision is not included in the 2017 WFRP Pilot

  Policy, renders the Director Review Determination arbitrary and capricious.




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        III.   Whether Finneman’s request for a non-compliance
               determination should be remanded back to the agency
        Now that the court has determined that the Director Review

  Determination failed to consider an important aspect of the problem and is

  therefore is arbitrary and capricious, the court must determine the appropriate

  remedy. Finneman’s motion for summary judgement asks the court to consider

  the merits of the issue of whether the RMA and FCIC are obligated to provide a

  non-compliance determination under the 2017 WFRP Pilot Policy. Docket 39 at

  2.

        “An administrative remand may be appropriate when an agency

  procedurally errs by failing to articulate a reasoned basis for its decision. When

  an agency legally errs by acting outside its statutory authority, a remand would

  be futile and improper.” Union Pac. R. Co. v. U.S. Dep’t of Homeland Sec., 738

  F.3d 885, 901 (8th Cir. 2013); see also J.O.C. Farms, LLC. v. Rural Cmty. Ins.

  Agency, Inc., 131 F. Supp. 3d 514, 529 (E.D.N.C. 2015) (remanding case to

  NAD Director after court found that the final agency decision was not

  supported by substantial evidence). Here, the agency has not acted outside of

  its authority, but rather has failed to consider an important aspect of the

  problem and thus acted arbitrarily and capriciously. Thus, remand is the

  appropriate remedy. On remand, the agency must provide a reasoned basis for

  its determination and consider whether the regulations at § 400.352 and

  § 400.176(b) provide an independent basis for the issuance of a non-

  compliance determination under the 2017 WFRP Pilot Policy.



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                                  CONCLUSION

       Thus, it is ORDERED that:

       (1) Defendants’ motion for summary judgment is denied.

       (2) Plaintiff’s motion for summary judgement is denied.

       (3) Plaintiff’s request for Director Review is remanded to the National

          Appeals Division for further proceedings consistent with the court’s

          order.

          Dated December 17, 2024

                                       BY THE COURT:


                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE




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